Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 1 of 16 PageID# 326
                                                                                     r -     FILED


                             UNITED STATES DISTRICT COURT
                                                                                           MAR 2 7 2018
                             EASTERN DISTRICT OF VIRGINIA                            CLbHK, U.S. DISTRICT COURT
                                         Norfolk Division



JAZZMAN LEVERT DANIEL,

                        Plaintiff,

        V.                                                               ACTION NO. 2;16cv701

BEN FRAZER,e/fl/.,

                        Defendants.


                                      DISMISSAL ORDER


        Plaintiff, a Virginia inmate, brings thispro se action pursuant to 42 U.S.C. § 1983 to redress

alleged violations ofhisconstitutional rights. Specifically, Plaintiffclaims that Defendants, who are

officers employed by the Richmond, Virginia Police Department, violated his rights during an

encounter that occurred onApril 20,2016. Compl. at 4, ECF No. 1. Plaintiff seeks $5,000,000.00

in damages. Id. at 7.

                                        I. Procedural History


        After Plaintiffqualified toproceed informapauperis. Defendants filed aMotion toDismiss.

Mot. toDismiss, ECF No. 20. By Order entered May 18,2017, theCourt granted inpartand denied

inpart Defendants' Motion toDismiss. Order, ECF No. 28. The Court construed Plaintiffs claims

for relief as:


        Claim One;      Defendants violated Plaintiffs Second Amendment rights by
                        charging him with a firearms offense.

        Claim Two:      Defendants violated Plaintiff s Fourth Amendment rights by
                        utilizing excessive force to place him under arrest.

        Claim Three: Defendants violated Plaintiffs Fourth Amendment rights by
                     searching his room without probable cause.
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 2 of 16 PageID# 327
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 3 of 16 PageID# 328
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 4 of 16 PageID# 329
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 5 of 16 PageID# 330
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 6 of 16 PageID# 331
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 7 of 16 PageID# 332
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 8 of 16 PageID# 333
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 9 of 16 PageID# 334
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 10 of 16 PageID# 335
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 11 of 16 PageID# 336
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 12 of 16 PageID# 337
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 13 of 16 PageID# 338
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 14 of 16 PageID# 339
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 15 of 16 PageID# 340
Case 2:16-cv-00701-RAJ-RJK Document 51 Filed 03/27/18 Page 16 of 16 PageID# 341
